     Case 15-12584              Doc 10        Filed 04/09/15 Entered 04/11/15 23:33:03                                Desc Imaged
                                              Certificate of Notice Page 1 of 4
B9I (Official Form 9I) (Chapter 13 Case) (12/12)                                                                       Case Number 15−12584
                                    UNITED STATES BANKRUPTCY COURT
                                                     Northern District of Illinois
               Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines
                                   The debtor(s) listed below filed a chapter 13 bankruptcy case on 4/8/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                   Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                               See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Val T. Johnson
7853 S. Coles Ave.
Apt. 1W
Chicago, IL 60649
Case Number: 15−12584                                                   Social Security / Individual Taxpayer ID / Employer Tax ID / Other
Office Code: 1                                                          nos:
                                                                        xxx−xx−0939
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
David M Siegel                                                          Tom Vaughn
David M. Siegel & Associates                                            55 E. Monroe Street, Suite 3850
790 Chaddick Drive                                                      Chicago, IL 60603
Wheeling, IL 60090                                                      Telephone number: 312 294−5900
Telephone number: 847 520−8100

                                  Meeting of Creditors:
Date: May 4, 2015                            Time: 12:30 PM
Location: 55 East Monroe, Suite 3850, Chicago, IL 60603
All debtors are required to attend and bring a picture ID and proof of their Social Security Number to the
341 meeting.
                                                                 Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:
                                                 Deadline to File a Proof of Claim:
        For all creditors (except a governmental unit): 8/3/15            For a governmental unit (except as otherwise provided in Fed. R.
                                                                                           Bankr. P. 3002(c)(1)): 10/5/15
                                                      Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.
                            Filing of Plan, Hearing on Confirmation of Plan and Attorney Fees
The debtor has filed a plan. The plan or a summary of the plan is enclosed. The hearing on confirmation and to consider a request by debtor's
                                                counsel for payment of legal fees will be held:
                Date: June 10, 2015, Time: 11:00 AM, Location: 219 South Dearborn, Courtroom 682, Chicago, IL 60604
                 The Disclosure of Compensation has been filed and the debtor's attorney is requesting fees of $ 4000.00
     If there are no objections, the Court may confirm the plan and allow fees requested by debtor's counsel to be paid through the plan.
                  Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 7/6/15
                                             Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
Eastern Division                                                        Clerk of the Bankruptcy Court:
219 S Dearborn                                                          Jeffrey P. Allsteadt
7th Floor
Chicago, IL 60604
Telephone number: 1−866−222−8029
Hours Open: Monday − Friday 8:30 AM − 4:30 PM                           Date: April 9, 2015
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                                                         EXPLANATIONS                                             B9I (Official Form 9I) (12/12)

Filing of Chapter 13    A bankruptcy case under chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows an
                        individual with regular income and debts below a specified amount to adjust debts pursuant to a plan. A plan is not
                        effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                        confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                        confirmation hearing is not indicated on the front of this notice, you will be sent notice of the confirmation hearing.
                        The debtor will remain in possession of the debtor's property and may continue to operate the debtor's business, if
                        any, unless the court orders otherwise.


 Legal Advice            The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                         this case.


Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to extend or impose a stay.


Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                        are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                        specified in a notice filed with the court.


Claims                  A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B 10")
                        can be obtained at the United States Courts Web site:
                        (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A
                        secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. If you do not
                        file a Proof of Claim by the "Deadline to file a Proof of Claim" listed on the front side, you might not be paid any
                        money on your claim from other assets in the bankruptcy case. To be paid, you must file a Proof of Claim even if
                        your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the creditor to the
                        jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who
                        files a Proof of Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing
                        Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of this
                        notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file a
                        motion requesting the court to extend the deadline.
                        Do not include this notice with any filing you make with the court.


Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                        Bankruptcy Code § 1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                        "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the front
                        of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523 (a)(2) or (4),
                        you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's office must
                        receive the motion or the complaint and any required filing fee by that deadline.

Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                        debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                        receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's      Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                  on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                        property claimed as exempt, at the bankruptcy clerk's office.
Creditor with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address         case.
                        −− Refer to Other Side for Important Deadlines and Notices −−
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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 15-12584-JBS
Val T. Johnson                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: nbatson                      Page 1 of 2                          Date Rcvd: Apr 09, 2015
                                      Form ID: b9i                       Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 11, 2015.
db             +Val T. Johnson,    7853 S. Coles Ave.,     Apt. 1W,    Chicago, IL 60649-4856
23153539        AT&T,    Bankruptcy Dept,    6021 S. Rio Grande Ave, 1st Floor,      Orlando, FL 32809-4613
23153540        AT&T,    Bankruptcy Dept.,    1585 Waukegan Road,     Waukegan, IL 60085-6727
23153536       +Arnold Scott Harris,     111 W. Jackson, #600,    Chicago, IL 60604-3517
23153537       +Arnold Scott Harris, P.C.,     222 Merchandise Mart Plaza,      Suite 1932,    Chicago, IL 60654-1420
23153541       +Atg Credit,    1700 W Cortland St Ste 2,     Chicago, IL 60622-1166
23153542       +Cbe Group,    1309 Technology Pkwy,    Cedar Falls, IA 50613-6976
23153543        Cci,   PO Box 212609,     Suite 110,   Augusta, GA 30917-2609
23153544       +City of Chicago,    Dept. of Revenue,     PO Box 88292,     Chicago, IL 60680-1292
23153545        City of Chicago Parking,     121 N LaSalle Street,     Room 107A,    Chicago, IL 60602-1232
23153546        Comcast,    PO Box 3002,    Southeastern, PA 19398-3002
23153547        Comcast,    Bankruptcy Department,    11621 E. Marginal Way 5,      Tukwila, WA 98168-1965
23153551        DCSE/MRU,    Bankruptcy Reporting Contact,     P.O. Box 19405,     Springfield, IL 62794-9405
23153552       +Dr. Joseph S. Thomas M.D.,      410 Connell Rd,     Ste T,    Valdosta, GA 31602-1899
23153553       +Dupage County Circuit Court,     PO Box 707,    Wheaton, IL 60187-0707
23153555       +Fed Loan Serv,    Po Box 60610,    Harrisburg, PA 17106-0610
23153556        Felecia Evans,    c/o State Disbursement Unit,      P.O. Box 5400,     Carol Stream, IL 60197-5400
23153558        Great Lake Educational Loan Serv,     2401 International Lane,      Madison, WI 53704-3121
23153559       +Ill.Dept. of Healthcare & Family,     Div. of Child Support Enforce-MRU,
                 509 South 6th, 4th Floor,     Springfield, IL 62701-1809
23153560       +Illinois Institute of Art at Chicag,      350 N Orleans St,     Suite 136,    Chicago, IL 60654-1975
23153561       +Illinois Tollway,    Attn:Attorney General Legal Dept.,       2700 Ogden Ave.,
                 Downers Grove, IL 60515-1703
23153563       +Joseph S Thomas M D,     410 Connell Rd,    Suite T,    Valdosta, GA 31602-1899
23153564       +Peoplesene,    130 E Randolph Drive,     Chicago, IL 60601-6207
23153565       +Presence Saint Francis Hospital,     621 17th Street,      Suite 1800,    Denver, CO 80293-0621
23153566       +St. Francis Hospital,     355 Ridge Ave,    Evanston, IL 60202-3399
23153567        Stellar Recovery Inc,     1327 Highway 2 Wes,    Kalispell, MT 59901

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: davidsiegellaw@hotmail.com Apr 10 2015 00:51:06        David M Siegel,
                 David M. Siegel & Associates,    790 Chaddick Drive,     Wheeling, IL 60090
tr             +E-mail/Text: 341NOTICE@TVCH13.NET Apr 10 2015 00:52:57        Tom Vaughn,
                 55 E. Monroe Street, Suite 3850,    Chicago, IL 60603-5764
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV Apr 10 2015 00:52:08        Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,     219 S Dearborn St,    Room 873,
                 Chicago, IL 60604-2027
23153538       +EDI: CINGMIDLAND.COM Apr 10 2015 00:28:00       AT&T,    Bankruptcy Dept,   5407 Andrew Highway,
                 Midland, TX 79706-2851
23153535       +E-mail/Text: bankruptcy@acbhq.com Apr 10 2015 00:51:51        American Credit Bureau,
                 2755 S Federal Hwy,    Boynton Beach, FL 33435-7742
23153548        E-mail/Text: legalcollections@comed.com Apr 10 2015 00:53:14        Commonwealth Edison,
                 Bankruptcy Department,    2100 Swift Drive,    Oak Brook, IL 60523-1559
23153550        E-mail/Text: legalcollections@comed.com Apr 10 2015 00:53:14        Commonwealth Edison,
                 PO Box 6111,   Carol Stream, IL 60197-6111
23153549        E-mail/Text: legalcollections@comed.com Apr 10 2015 00:53:14        Commonwealth Edison,
                 Bankuptcy Department,    3 Lincoln Center,    Oak Brook Terrace, IL 60181-4204
23153554       +E-mail/Text: bknotice@erccollections.com Apr 10 2015 00:52:19        Enhanced Recovery Corp,
                 Attention: Client Services,    8014 Bayberry Rd,     Jacksonville, FL 32256-7412
23153557       +E-mail/Text: bknoticing@grantweber.com Apr 10 2015 00:52:18        Grant & Weber,
                 Attn: Bankruptcy,   26575 W. Agoura Rd.,     Calabasas, CA 91302-2975
23153562        EDI: IRS.COM Apr 10 2015 00:28:00      IRS,    Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 11, 2015                                            Signature: /s/Joseph Speetjens
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District/off: 0752-1          User: nbatson               Page 2 of 2                  Date Rcvd: Apr 09, 2015
                              Form ID: b9i                Total Noticed: 37

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 9, 2015 at the address(es) listed below:
              David M Siegel    on behalf of Debtor Val T. Johnson davidsiegellaw@hotmail.com,
               davidmsiegel@hotmail.com;author@proofofpayments.com;johnellmannlaw@gmail.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Tom Vaughn     ecf@tvch13.net, ecfchi@gmail.com
                                                                                             TOTAL: 3
